       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-15 784
                                  Document    Filed 05/22/23
                                                  Filed 08/30/17Page 1 of1 2of 2
                                                                  Page



MINUTE ENTRY
ENGELHARDT, J.
AUGUST 30, 2017

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 IN RE: TAXOTERE (DOCETAXEL)                                         MDL 2740
 PRODUCTS LIABILITY LITIGATION


                                                                     SECTION "N"

                         JUDGE KURT D. ENGELHARDT PRESIDING

WEDNESDAY, AUGUST 30, 2017 AT 9:30 A.M.

COURTROOM DEPUTY: Cherie Stouder/Crystal Lee
COURT REPORTER: Cathy Pepper
LAW CLERK: Chynna Anderson

APPEARANCES: Douglas Moore, counsel for Sanofi Defendants'
            Clifton Merrell, counsel for Sandoz Inc. Defendants'
            John Olinde, counsel for Hospira Defendants'
            Chris Coffin, Bruce Kingsdorf and Karen Menzies, counsel for Plaintiffs'
            Dawn Barrios and Palmer Lambert, Plaintiffs' Liaison Counsel
            (see attached list for additional attorneys in attendance)


1) MOTION OF DEFENDANTS' TO DISMISS PLAINTIFFS' MASTER LONG FORM
COMPLAINT (REF: ALL CASES)
(Rec. Doc. No. 489): ARGUMENT - IT IS ORDERED that Defendants' motion is DENIED with
respect to Count One and Counts Three through Seven of Plaintiffs' Master Long Form Complaint.

       IT IS FURTHER ORDERED that with respect to Counts Two and Eight of the Master
Long Form Complaint, which allege strict liability for misrepresentation and breach of express
warranty, respectively, Plaintiffs shall have fourteen (14) days to provide counsel and the Court with
supplemental briefing or an amendment to the Master Long Form Complaint clearly identifying what
express statements or language constitutes the alleged misrepresentation or warranty.




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     Case    3:23-cv-00782-YY Document
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                                  Document    Filed 05/22/23
                                                  Filed 08/30/17Page 2 of2 2of 2
                                                                  Page




 JS-10: 0:50

PAGE 2
MDL 2740
AUGUST 30, 2017


2) MOTION OF PLAINTIFFS' TO REMAND CERTAIN CASES TO THE SUPERIOR
COURTS OF CALIFORNIA (REF: 17-CV-1812, 17-CV-1813, 17-CV-1814, 17-CV-3864, 17-
CV-3866, 17-CV-3865, 17-CV-3867, 17-CV-2356, 17-CV-5832, 17-CV-5833)
(Rec. Doc. No. 469): IT IS ORDERED that the motion is GRANTED IN PART and DENIED
IN PART. With regard to Plaintiffs Joann Pickrell's (17-1813), Candyse Jenkins' (17-3866), and
Vera Smith's (17-5832) civil actions, the motion to remand is GRANTED, and these Plaintiffs'
claims shall be remanded to California state court.
       With respect to Plaintiffs Susan Fuller (17-1812), Margarett Wright (17-1814), Robin
Castagnola (17-3864), Mary Gardner (17-3865), and Judy Johnson (17-5833), the motion to
remand is DENIED. Within ten (10) days, counsel shall file a motion to dismiss without
prejudice as to McKesson in these member cases.
        IT IS FURTHER ORDERED that counsel shall have ten (10) days to submit
supplemental briefing regarding the possible severance of the two multi-plaintiff cases, Ernyes-
Kofler, et al. v. Sanofi S.A., et al. (17-CV-3867) and McCallister, et al. v. Sanofi S.A., et al. (17-
CV-2356).


3) MOTION OF PLAINTIFFS' TO REMAND TO the Superior Court of Delaware (REF:
17-CV-3871; 17-CV-3871; 17-CV-3893; 17-CV-3894; 17-CV-3895; 17-CV-3896;
17-CV-3897;17-CV-3901; 17-CV-3904; 17-CV-3905; 17-CV-3906; 17-CV-3908; 17-CV-3909;
17-CV-3909; 17-CV-3911; 17-CV-3917; 17-CV-3932; 17-CV-3933; 17-CV-01891; 17-CV-3935;
17-CV-3938; 17-CV-3939; 17-CV-3941; 17-CV-3949; 17-CV-3953; 17-CV-3954; 17-CV-3962;
17-CV-3965; 17-CV-3968; 17-CV-3977; 17-CV-3979; 2:17-CV-02891; 17-CV-4008;
17-CV-4009; 17-CV-4011; 17-CV-4012; 17-CV-4014; 17-CV-3978; 17-CV-3974; 17-CV-3969;
17-CV-3967; 17-CV-4016; 17-CV-4016; 17-CV-4021; 17-CV-4023; 17-CV-4028; 17-CV-4027;
17-CV-4025; 17-CV-4020; 17-CV-4010; 17-CV-3976; 17-CV-3975; 17-CV-3970; 17-CV-3964;
17-CV-3960; 17-CV-3951; 17-CV-3948; 17-CV-3952; 17-CV-3947; 17-CV-3912
(Rec. Doc. 473): IT IS ORDERED that the motion is GRANTED, and the referenced cases
shall be remanded to the Superior Court of Delaware.




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